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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                 Case No: 09-20280-2
v.

ALI ALAOUIE,

                Defendant.
___________________________/

                     ORDER GRANTING GOVERNMENT’S
              APPEAL OF MAGISTRATE JUDGE’S ORDER FOR BOND

      This matter has come before the court for a de novo review of the government’s

appeal of Magistrate Judge Mona Majzoub’s order for bond as to defendant Ali Alaouie.

For the reasons fully stated on the record the government’s appeal of the Magistrate

Judge’s order is GRANTED that the defendant is remanded to the custody of the US

Marshals to be held pending trial.

                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE

Dated: October 25, 2010


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 25, 2010, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
